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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                      Case No. 1:23-cr-00430-KPF
United States of America
                                            Plaintiff,

           -against-
Roman Storm and Roman
Semenov                                      Defendant.
---------------------------------------------------------
                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                       9       I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   Matt Gregory
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                       N/A
My SDNY Bar Number is:_________________                         1033813 (D.C.)
                                        My State Bar Number is ______________

I am,
           9           An attorney
           9           A Government Agency attorney
           9✔          A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:                         Gibson, Dunn & Crutcher LLP
                       FIRM NAME:_______________________________________________
                                     1050 Connecticut Ave., NW, Washington D.C. 20036
                       FIRM ADDRESS:____________________________________________
                                                  202.887.3635
                       FIRM TELEPHONE NUMBER:________________________________
                                          202.831.6088
                       FIRM FAX NUMBER:________________________________________

NEW FIRM:                         Gibson, Dunn & Crutcher LLP
                       FIRM NAME:_______________________________________________
                                     1700 M Street, NW, Washington D.C. 20036
                       FIRM ADDRESS:____________________________________________
                                                   202.887.3635
                       FIRM TELEPHONE NUMBER:________________________________
                                          202.831.6088
                       FIRM FAX NUMBER:________________________________________


           9
           ✔           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: September 12, 2024                                      /s/ Matt Gregory
                                                               ____________________________
                                                               ATTORNEY’S SIGNATURE
